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            United States District Court for the District of Columbia

United States of America                   *

      v.                                   *                No. 1:21-CR-00032-DLF-1

Guy Wesley Reffitt                         *


Objection and Opposition to Government’s Proposed Testimony by Daniel
                              Schwager

      In the government’s summary of Daniel Schwager’s expected testimony, it

states:

      Mr. Schwager served as the counsel to the Secretary of the Senate on
      January 6, 2021. (He has since left the Senate.) Mr. Schwager will
      generally explain the process and constitutional and legal bases for
      Congress’s certification of the Electoral College vote.

Doc. 98-1 at 9.


      Mr. Reffitt objects and opposes testimony about the process and constitutional

and legal bases for Congress’ certification of the Electoral College vote. First, Federal

Rule of Evidence 701 prohibits parties from proffering an expert cloaked as a lay

witness to undercut the expert discovery and disclosure process prescribed by Federal

Rule of Evidence 702. Advisory Committee Notes to 2000 Amendment to Rule 701,

citing United States v. Figueroa-Lopez, 125 F.3d 1241, 1246 (9th Cir.1997) (law

enforcement agent’s testimony that defendant’s conduct was consistent with that of

drug trafficker would subvert the requirements of Federal Rule of Criminal

Procedure 16); United States v. Hampton, 718 F.3d 978, 981–982 (D.C. Cir. 2013) (FBI

agent’s lay interpretation and opinion of calls in non-coded language was plain error).
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      Second, it is the Court’s function to rule on questions of law. Barbara E.

Bergman, Crim. Jury Instr. for the District of Columbia, Fifth Ed., Instr. No. 2.102,

filed through Rel. No. 17, Sep. 2019 (the Red Book); see also, Specht v. Jensen, 853 F.

2d 805, 807 (10th Cir. 1988). The judge alone “instruct[s] the jury on the relevant

legal standards.” Burkhart v. Washington Metro. Area Transit Auth., 112 F. 3d 1207,

1213 (D.C. Cir. 1997).


      An expert witness may not give an opinion on ultimate issues of law. Ibid.; see

also Specht at 808; Marx & Co. v. Diners’ Club, Inc., 550 F.2d 505, 509–10 (2d Cir.),

cert. denied, 434 U.S. 861, 98 S.Ct. 188, 54 L.Ed.2d 134 (1977) (“legal opinions as to

the meaning of the contract terms at issue ... was testimony concerning matters

outside [the witness’] area of expertise.... It is not for witnesses to instruct the jury

as to the applicable principles of law, but for the judge.”); Adalman v. Baker, Watts &

Co., 807 F.2d 359, 366 (4th Cir. 1986) (testimony of attorney on the meaning and

applicability of “domestic” (as opposed to foreign) law would be inadmissible as

invasion of the judge’s province ); Owen v. Kerr-McGee Corp., 698 F.2d 236, 240 (5th

Cir.1983) witness’ offering legal conclusion on the contributory negligence of a party

infringed upon the jury’s role in deciding case); United States v. Zipkin, 729 F.2d 384,

387 (6th Cir. 1984), (“It is the function of the trial judge to determine the law of the

case, …. It is impermissible to delegate that function to a jury through the submission

of testimony on controlling legal principles.”




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                                          (Appointed by this Court)

                              Certificate of Service

      I hereby certify that on this 8th day of February 2022, a copy of the foregoing

Objection and Opposition to Government’s Proposed Testimony was delivered

electronically to Mr. Jeffrey S. Nestler (jeffrey.nestler@usdoj.gov) and Ms. Risa

Berkower (risa.berkower@usdoj.gov), Office of the United States Attorney, 555

Fourth Street, NW, Washington, DC 20530.



                                          /s/ William         L. Welch, III
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